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UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
IN THE MATTER OF )
DARRYL SWINDLE, § Chapter 13
l)ebtor, § Case No. 17»18575
)

APPELLANTS’ STATEMENT OF ISSUES AND
DESIGNATION OF RECORD ON APPEAL

Ebony Lucas, submits this Statement of Issues and Designation of Record on Appeal
pursuant to Rule 8006 of the Federal Rules of Bankrtuptcy Procedure, with respect to her Appeal
from the Memorandum and Opinion entered February 7, 2018 and

l. On May 19, 2017, a forcible entry and detainer action Was filed in the Circuit Court
of Cook County. Debtor, Darryl Swindle, was served on June 15, 2017. Trial was held on .lune
23, 2017. Debtor failed to appear and an ex- parte defaultjudgment was entered.

2. Following entry of the default judgment, Creditor, Parkside Place Condominiurn
Association received notice, through its counsef, The Property Law Group, LLC, of a Chapter 13
Bankruptcy tiled.

3. On .luly 12, 2017, counsel went into the Circuit Court of Cook County and
requested that the case be stricken from the ca11 and future action because of the bankruptcy filing.
This request was noted in the court record.

4. On October 16, 2017, counsel for Parkside Place Condominiurn Association
received a call from the Cook County Sherift"s Department to inform her of a scheduled eviction.

She sent an email to Parkside Place Condominiurn Association regarding the scheduled eviction.

 

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5. Counsel subsequently received an email and telephone call from Debtor’S attorney
informing her of the pending bankruptcy and stay. Counsel informed Debtor’s attorney that she
was not in the office and needed to review tbe file and would follow up in the morning.

6. On the morning of October 17, 2017, Counse! for Parksidc P|ace Condominium
Association reviewed the file and contacted the sheriff’s department to cancel the eviction. An
email was sent to counsei for Debtor at 10:00am informing them of the cancellation

7. Counsel for Parkside Place Condominium Association subsequently filed a Motion
to Lift the Stay on October 20, 2017 on the basis that the debtor had not made any payments since
filing the bankruptcy The Notice of l\/lotion was not properly tiled, so this Motion was re-tiled
with proper Notice of l\/lotion on November l, 2017.

8. Counsel for Debtor filed a Motion for Sanctions Against Ebony Lucas for Violation
of the Automatic Stay on October 21, 2017.

9. After the motion was filed, Debtor made the post- bankruptcy payments and
brought the account current

i0. On November 6, 2017, the parties appeared in court and the court entered the
Petition for Rule to Show Cause and scheduled the matter for hearing on November 27, 2038.
Based upon the payments made by Debtor, the Motion to Lift Stay was deniedl

1¥. "t`he parties appeared on Novernber 27, 2018 at 9:30am, however, Lucas while
waiting for the case to be called, Lucas was informed her of an emergency at her child`s school
and was forced to leave court at approximateiy 12:30pm. The case had not yet been called at that
time. Lucas attempted to speak with the court clerk to inform them of the emergency and was not
allowed to do so. She then teft a voicemail for the clerk from the court hallway phone, and

provided a written note regarding the emergency to the clerk.

 

 

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12. Despite these attempts, the court granted the Motion for Sanctions and set the
matter for prove up on December 1 I, 2017. The matter was continued for hearing on December
18, 2017.

13. On November 29. 2017, Lucas filed a Motion to Vacate.

14. On December 11, 2017, the parties appeared and the matter was continued for
hearing on December 18, 2017.

15. On December 13, 2017, the struck the December 18, 2017 and Court continued the
matter for evidentiary hearing to .lanuary 8, 2018. The docket stated that "Witness List" were due
by December 28, 20}7. There was an order attached to the docket which also provided that
Exhibits were due. Re]ying upon the docket statement, however, and having no other witnesses,
Lucas faiied to fite any Exhibits by December 28, 2017.

16. On the date of hearing, the court barred Lucas from presenting any Exhibits,
including Exhibits provided by Debtor, since she did not file any Exhibits by the date set forth in
the order.

17. At hearing, Lucas requested that the court take judicial notice of the Cook County
Circuit Court half sheet which showed that Lucas had, in fact, stricken the case from the ca11 on
duly 12, 2017. 'fhe court reviewed the half sheet and noted that thejudge wrote that the case was
stricken due to a bankruptcy tiling.

18. The court also reviewed a post card from the Cook County Sheriff dated in August
2017 which stated that the eviction was canceiled due to a bankruptcy tiiing.

19. After hearing, the court found a violation of the automatic stay and entered

emotionai distress, punitive damages, and attorney fees.

 

 

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20.

Lucas filed a Motion for Reconsideration. The court subsequently denied that

Motion and entered final judgment

21.

Lucas timely filed a Notice oprpeal on April 28, 2018.

LUCAS’ STATEMENT OF ISSUES ON APPEAL

22. Lucas seeks to address the following issues:

21.

Did the Bankruptcy Court err in refusing to admit or consider evidence at the
evidentiary hearing that included Court, Cook County Sheriff”s Department
records, and email communications between the parties which did not pose any
surprise or prejudice to Debtor?

Did the Bankruptcy Court err in finding a violation of the automatic stay where an
order was entered without knowledge of the bankruptcy and subsequently the
matter was stricken from the call by the Creditor when notice was received?

Did the Bankruptcy Court err in finding that there was "egregious” conduct where
the alleged violations occurred as a result of error and the errors were corrected by
the attorney within a 24 hour time period?

Did the Bankruptcy Court err in finding a violation of the automatic stay where
contact regarding the eviction was an error and was corrected by the creditor
within a 24 hour time period?

Did the Bankruptcy Court err in granting emotional distress damages where there
were no documents, cvidence, or testimony regarding emotional distress?

Did the Banl<ruptcy Court err in granting punitive damages where the alleged
violation was in error and was corrected by the Creditor prior to the tiiing of the

Motion for Sanctions?

 

 

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g. Did the Bankrtuptcy Court err in granting punitive damages where it failed to

apply the 4- part test?

h. Did the Bankruptcy Court err in granting attorney fees where the attorney fees

were not actual damages and there was no documents or evidence that attorney

fees were ever due and owing by the Debtor?

LUCAS’ DESIGNA'I`ION ()F RECORD ON APPEAL

23. The following table shall constitute Appeilant’s designation:

 

n item No. Dkr. Na.

Docu ment

 

Chapter 13 Plan Filed by Rae Kaplan on
behalf of Darryl N. Swindle (Entered:
06f20/2017)

 

Notice of Chapter 13 Bankruptcy Case
(Entered: 06/21/201 7)

 

16

Notice of Motion and l\/iotion for Relief from
Stay as to 1430 13 69th St Unit 35 Chicago
60637.

(Entered: 1011 9/2017)

 

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Notice of Motion and Motion For Sanctions
against Ebony Lucas for Violation of the
Automatic Stay, Notice of Motion and
Motion for Rule to Show Cause Rule to Show
Cause and for Sanctions Filed by Adarn R
Quigley on behalf of Darryl N. Swindle.
(Entered: 10/20/2017)

 

25

Notice of Motion and Motion for Relief from
Stay as to 1430 E 69th St Unit 35 Chicago
60637.

(Entered: 11/'01/2017)

 

29

 

 

 

Order for Rule to Show Cause and for
Sanctions IT lS HEREBY ORDERED: 1. A
Rule to Show Cause, with a return date of
November 27, 2017 at 1 1:00am, is issued as
to why Ebony Lucas and Property Law Group
should not be held in contempt of court for
violations of the automatic stay; and 2. Ebony
Lucas, Property Law Group, Parkside Place

 

 

 

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Condominium Association, and anyone acting
in concert with, or on behalf of those entities,
are enjoined from any taking any actions or
making any attempts to evict the Debtor from
his condominium unit until a final resolution
is reached in this matter. Hearing scheduled
for 11/27/2017 at 11:00 Al\/l at 219 South
Dearborn_, Courtroom 680, Chicago, Illinois
60604. Signed on 1 1/6/2017. (Cabrales,
Claudia) i\/lodified on l 1/7/2017 to correct
docket text (Sullivan, Elizabeth). (Entered:

1 1/06/2017)

 

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Order Denying Motion for Relief from Stay
(Entered: 1 1/06/2017)

 

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Notice of Motion and Motion to Vacate Filed l
by Ebony Lucas on behalf of Ebony Lucas.
(Entered: 11/29/20§7)

 

38

Hearing Continued hearing scheduled for
12/18/2017 at 11:00 AM at Courtroom 680
219 South Dearborn, Chicago, lL, 60604..
Signed on 12/1 1/2017. (Green, losephine)
(E-ntered: 12/11/2017)

 

 

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Order Scheduling (RE: §§ Motion for
Sanctions/Damages for Violation of the
Automatic Stay). Evidentiary hearing
scheduled for 1/8/2018 at 01:00 Pl\/I at 219
South Dearborn, Courtroom 680, Chicago,
lllinois 60604. Witness List due by
12/23/2017. The December 18, 2017 hearing
herein is stricken. Signed on 12/13/2017
(Cabrales, Claudia) (Entered: 12/13/2017)

 

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Hearing Continued (Reset) (Entered:
1 2/1 3/20 1 7)

 

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Memorandum Opinion (Entered: 02/07/’2018)

 

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Notice of Motion and Motion to Vacate
(related documents 33 Order Scheduling)
Filed by Ebony Lucas on behalf of Ebony
Lucas. (Entered: 03/19/2018)

 

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Order Granting Application For
Compensation, Denying Motion To Vacate
(Reconsideration) (Entered: 03/30/2018)

 

 

 

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Notice of Appeal to District Court. Filed by
Ebony Lucas on behalf of Ebony Lucas. Fee
(Entered: 04/28/2018)

 

Ebony Lucas

The Property Law Group, LLC
Attorney No.: 6292082

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Chicago, lL 60653
clucas@p|gesq.com

RESPECTFULLY SUBMITTED,

Byr zif/Y~…@c~v\%»</~s

EboriMucas

 

 

